               IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA
                                                 Norfolk Division

TIFFANY SNIDER-JEFFERSON,

                  Plaintiff,

v.                                                                                Civil Action No. 2:15-406

WAL-MART STORES EAST, LP
t/a WAL-MART, INC. and/or WALMART

and

AMIGO MOBILITY INTERNATIONAL, INC.
t/a AMIGO MOBILITY and/or AMIGO,

                  Defendants.


      AMIGO MOBILITY INTERNATIONAL’S MEMORANDUM IN SUPPORT OF
       ITS MOTION TO STRIKE SEBASTIAN Y. BAWAB’S REBUTTAL REPORT


         NOW COMES, Defendant Amigo Mobility International, Inc. t/a Amigo Mobility and/or

Amigo (“Amigo”), by counsel, and for its Memorandum in Support of its Motion to Strike

Sebastian Y. Bawab’s (“Dr. Bawab”) Rebuttal Report states as follows:

                                       SUMMARY OF ARGUMENT

         Dr. Bawab’s so-called “rebuttal” report should be struck for the reasons stated in

Amigo’s Memorandum in Response to Plaintiff’s Brief in Opposition (ECF No. 49).1 Similar to

Dr. Bawab’s Affidavit filed on July 11, this “rebuttal” report is filled with information and




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  On July 15, 2016 Plaintiff’s counsel emailed a copy of “Dr. Sebastian Bawab’s Rebuttal Report” (“Rebuttal
Report”) attached hereto as Exhibit 1. As will be explained in more detail below, this report is similar in many
respects to the “Affidavit of Dr. Sebastian Bawab” (“Affidavit”) previously filed as Exhibit F to Plaintiff’s Brief in
Opposition to Amigo’s Motion for Summary Judgment and Motion to Exclude (ECF No. 49). For convenience, the
previously filed Affidavit is attached as Exhibit 2.

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opinions that should have been included in his initial report. The opinions in this report are still

not based on any new evidence. See Dr. Bawab Rebuttal Report. Every fact or grounds for an

opinion mentioned in his new report was either already known or readily available to the

Plaintiff, her counsel, and/or to Dr. Bawab at the time he wrote his initial Rule 26(a)(2) report

had anyone bothered to look. Plaintiff’s is attempting to improperly supplement Dr. Bawab’s

original Rule 26(a)(2) report long after the deadline has expired and after fatal flaws in the timely

disclosure have been identified by recasting it as “Rebuttal” in clear violation of the Federal

Rules of Civil Procedure and the Rule 16(b) order in this action. Further, Dr. Bawab’s new

“Rebuttal” Report was not actually signed by Dr. Bawab in violation of Rule 26(a)(2). For these

reasons, Dr. Bawab’s “Rebuttal” Report should be struck.

                                           ARGUMENT

I.     Dr. Bawab’s “Rebuttal” Report is outside the scope of allowable rebuttal testimony

       “A rebuttal expert report is not the proper place for presenting new arguments.” Ebbert

v. Nassau County, 2008 WL 4443238 at 13 (E.D.N.Y. Sept. 26, 2008) (internal quotations

omitted). A party may not offer “rebuttal” testimony simply as a means of providing additional

support for the case in chief. Jain v. Abbott Labs., Inc., No. 7:13CV00551, 2014 WL 7330805,

at *10 (W.D. Va. Dec. 19, 2014) (citing Allen v. Prince George's County, Md., 737 F.2d 1299,

1305 (4th Cir.1984)). Instead, rebuttal testimony is appropriate to counter new facts presented

during the defendant’s case-in-chief such as evidence not previously available to plaintiff. Id.

“The plaintiff who knows that the defendant means to contest an issue that is germane to the

prima facie case (as distinct from an affirmative defense) must put in his evidence on the issue as

part of his case in chief.” Id. (internal citations omitted).




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         In order to make out a prima facie case against Amigo, Plaintiff must supply evidence

showing that the cart was “unreasonably dangerous” and that this condition produced her injury.

See Logan v. Montgomery Ward & Co., 216 Va. 425, 428, 219 S.E.2d 685, 687 (1975). This is

the Plaintiff’s burden, not an affirmative defense, and not evidence that is appropriate as rebuttal.

         Dr. Bawab’s Rebuttal Report is full of opinions that are necessary to meet plaintiff’s

burden of proof in this case. For the first time, Dr. Bawab opines that the Amigo cart at issue

actually violates an industry standards.2 See Rebuttal Report at p.5. Also for the first time, Dr.

Bawab claims that the design of the cart is dangerous and defective for its intended use. See

Rebuttal Report at 5. There is no doubt that both of these opinions are necessary for plaintiff’s

case in chief and are not in any way true “rebuttal” opinions. Every single opinion stated in Dr.

Bawab’s Rebuttal Report could have been stated in his previous Rule 26(a)(2) report, and

appears to be an effort to fix the flaws in the timely report after Amigo moved to exclude Dr.

Bawab’s testimony.

         As stated by Amigo in its Memorandum in Response to Plaintiff’s Brief in Opposition,

the best evidence to show how much plaintiff needs these new opinions, and has abandoned the

old ones, is the fact that Plaintiff’s Brief in Opposition to Amigos Motion for Summary

Judgment and Motion to Exclude not once cites Dr. Bawab’s actual Rule 26(a)(2) report. See

Plaintiff’s Brief in Opposition to Amigo’s Motion for Summary Judgment and Motion to

Exclude Plaintiff’s (ECF No. 49) at p. 7-13. In fact, under the section explaining how Dr.

Bawab’s opinion is relevant and “fits” with the case, the only basis cited are the opinions from




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  The Society of Automobile Engineers (SAE) standard referenced – J966 – involves procedures for measuring
passenger car tire revolutions per minute. It is difficult to see how that standard could possibly apply to this product,
and Dr. Bawab (or whoever wrote the report) does not explain what the standard is or why it applies.

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what was then called an affidavit and is now styled as a Rebuttal Report, which were completely

absent in Dr. Bawab’s original Rule 26(a)(2) report. Id. at p. 9-11.

         The new Rebuttal Report is being offered for the sole purpose of filling gaping holes in

the disclosed opinion under both Virginia substantive law and Federal Rule of Evidence 702.

Nothing in the Rebuttal Report is based on any new evidence. Basic opinions in a products

liability case such as the fact that a product has violated an industry standard and that the design

of the product is unreasonably dangerous cannot possibly be considered “rebuttal” evidence. As

such, Dr. Bawab’s Rebuttal Report should be stricken from this case.

   II.      Dr. Bawab’s “Rebuttal” Report was not signed by Dr. Bawab

         The Federal Rules of Civil Procedure require that reports from retained experts must be

“signed by the witness.” See Fed. R. Civ. P. 26(a)(2)(B). On July 11th, plaintiff’s counsel filed

an Affidavit executed by Dr. Bawab as an exhibit to the brief opposing Amigo’s motions to

exclude Dr. Bawab and for summary judgment. The “Rebuttal Report” served on July 15, 2016

is substantially similar, but there are some curious and substantive differences. However, the

signature pages for the Affidavit and Rebuttal Report are identical. Since the Affidavit was

signed and submitted on July 11th, this can only mean that Dr. Bawab never actually signed the

edited Affidavit now re-titled as a Rebuttal Report.

         At first glance the original Affidavit and new Rebuttal Report appear to be the same

documents, however when the two are compared some material differences can be noted. Some

of the changes are minor word omission errors, such as the removal of the word “experience” in

the Rebuttal Report on page 3, so that the sentence now reads “I have over 25 years of industrial

sponsored projects.” instead of the original wording, “I have over 25 years’ experience of

industrial sponsored projects…” See page 3 of Exhibit 1 and Exhibit 2 at subheading 2. Others



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changes, however, are substantive. For example, the entire argument that the Amigo cart at issue

does not comply with UL 1439 has been removed from the Rebuttal Report. See page 7 of

Exhibit 1 and Exhibit 2. The Rebuttal Report, for the first time, claims that “SAE standard

J966” is an appropriate standard to be applied to the Amigo cart, even though this was

completely left out of the Affidavit. See page 6-7 of Exhibit 1 and Exhibit 2. Page 7 of the

Rebuttal Report also contains a new, large, blank space at the bottom of the page as well. See

page 7 of Exhibit 1 and Exhibit 2. However, as stated above, the final page of the Rebuttal

Report and the Affidavit, including the signatures by Dr. Bawab, are identical. See page 9 of

Exhibit 1 and Exhibit 2. The obvious purpose of the addition of large blank spaces (and

possibly the reference to an irrelevant standard) is to make sure the signature page for the new

report will line up with the signature page of the affidavit.

       As shown on page 9 of both the Affidavit of Dr. Bawab, filed with the court on July 11,

and the Rebuttal Report sent on July 15, both were “signed” by Dr. Bawab and notarized on July

11, 2016. See page 9 of Exhibit 1 and Exhibit 2. Both have the same squeezed in “Virginia

Beach” handwriting along with identical dates indicating when the notary’s commission expires,

including a slight illegible marking next to the year. Id. There is no doubt that the two signature

pages for these two documents are the same, while the reports themselves are different. The only

conclusion to be drawn from this is that Dr. Bawab never actually signed the Rebuttal Report and

instead only signed the first Affidavit. Because Dr. Bawab never signed the Rebuttal Report, it

should be stricken from the record in this case. As a practical matter, the continued editing

reveals that Dr. Bawab (or plaintiff’s counsel) still hasn’t decided what his opinions are or what

facts support them.




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                                        CONCLUSION

       WHERFORE, for the reasons stated herein, Amigo Mobility International, Inc.

respectfully requests that this Honorable Courts grant its Motion to Strike Sebastian Y. Bawab’s

Rebuttal Report and provide any such further relief as this Court deems necessary.



                                            AMIGO MOBILITY INTERNATIONAL, INC.



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                                   CERTIFICATE OF SERVICE
         I hereby certify that on this 21st day of July, 2016, I electronically filed the foregoing with

the Court using the CM/ECF system which will then send a notification of such filing to the

following:

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